                 Case 24-15755-LMI             Doc 81       Filed 08/09/24        Page 1 of 48




                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov




In re:                                                                     Chapter 11

IVANKOVICH FAMILY LLC,                                                     Case No.: 24-15755-LMI
A & O FAMILY LLC,                                                          (Jointly Administered)
A & O FAMILY LLC (Illinois),                                                         24-15762-LMI
ATLAS P2 MANAGING MEMBER, LLC,                                                       24-15767-LMI
                                                                                     24-15770-LMI
         Debtors.                                                   /


    DEBTORS’ APPLICATION FOR AN ORDER (I) AUTHORIZING THE RETENTION
    AND EMPLOYMENT OF COHNREZNICK LLP AS FINANCIAL ADVISOR TO THE
      TO THE DEBTORS AND DEBTORS-IN-POSSESSION EFFECTIVE AS OF THE
              PETITION DATE AND (II) GRANTING RELATED RELIEF

         Ivankovich Family LLC, A & O Family LLC, A & O Family LLC (Illinois), Atlas P2

Managing Member, LLC, the debtors and debtors in possession (collectively, the “Debtors”) in

the above-captioned cases (the “Chapter 11 Cases”), by and through their undersigned general

bankruptcy counsel, Eyal Berger, Esq., Amanda Klopp, Esq., and the Law Firm of Akerman LLP,

submit this application (the “Application”) seeking approval and authorizing the Debtors to retain

and employ CohnReznick LLP (“CohnReznick”) as its financial advisor (“Financial Advisor”)

in these jointly administered Chapter 11 Cases. The Application is made and based upon the

authorities herein, and in support of this Application, the Debtors rely upon the Declaration of

Stuart Neiberg of CohnReznick, a true and correct copy of which is attached hereto as Exhibit A

(the “Neiberg Declaration”) 1 and in accordance with the terms and conditions set forth in that



1
          Capitalized terms used but not defined in this Application have the meaning given to them in the Engagement
Letter, as applicable.

77588361;1
                 Case 24-15755-LMI            Doc 81       Filed 08/09/24        Page 2 of 48




certain engagement letter dated July 29, 2024 (the “Engagement Letter”),2 copy of which is

attached hereto as Exhibit B, and granting related relief. In further support of this Application,

the Debtors respectfully represent as follows:

I.       JURISDICTION AND VENUE

         1.      This Court has jurisdiction over this case and to consider this Application pursuant

to 28 U.S.C. §§ 157 and 1334. Venue is proper for this proceeding and the Application is proper

in this District pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2).

         2.      The statutory bases for the relief requested by the Application are sections 327, 328,

330 of title 11 of the United States Code, 11 U.S.C. §§101 et seq. (as amended, the “Bankruptcy

Code”) and Rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure (as amended, the

“Bankruptcy Rules”), and Rule 2014-1 and 2016-1 of the Local Rules for the United States

Bankruptcy Court for the Southern District of Florida (Miami) (the “Local Rules”) effective as of

the Petition Date (as defined below).

         3.      The Debtors consent to the entry of a final order by this Court in connection with

this Application to the extent that it is later determined that this Court, absent consent of the parties,

cannot enter final orders or judgments in connection with this Application consistent with

Article III of the United States Constitution.

II.      BACKGROUND

         4.      On June 10, 2024 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief in this Court under chapter 11 of the Bankruptcy Code.



2
         Any references to, or summaries of, the Engagement Letter in this Application are qualified by the express
terms of the Engagement Letter, which shall govern if there is any conflict between the Engagement Letter and the
summaries provided herein.

77588361;1
               Case 24-15755-LMI        Doc 81     Filed 08/09/24     Page 3 of 48




         5.     The Debtors are authorized to continue to operate their businesses and manage their

properties as debtors in possession pursuant to Bankruptcy Code sections 1107(a) and 1108 of the

Bankruptcy Code.

         6.     No request has been made for the appointment of a trustee or examiner, and no

statutory creditors’ committee has been appointed in these Chapter 11 Cases.

         7.     On June 20, 2024, this Court entered an order granting the joint administration of

these Chapter 11 Bankruptcy Cases for procedural purposes only under the above styled captioned

lead case. See ECF No. 15.

III.     RELIEF REQUESTED

         8.     Pursuant to sections 327(a) and 330 of the Bankruptcy Code, Bankruptcy Rules

2014(a) and 2016(b) and 6003, Bankruptcy Local Rules 2014-1, 2016-1 and 9013-1, the Debtors

respectfully request entry of an Order (i) approving and authorizing the employment and retention

of CohnReznick to serve as Financial Advisor for the Debtors effective as of June 10, 2024, and

granting related relief.

IV.      COHNREZNICK’S QUALIFICATIONS

         9.     The Debtors seek to retain CohnReznick as their Financial Advisor because of its

knowledge of the Debtors and extensive experience in providing financial and operational

guidance to fiduciaries of and companies in distressed situations and in restructuring scenarios.

CohnReznick offers a full complement of services, including, audit, tax, financial advisory,

restructuring workouts, transactions, bankruptcy, expert testimony, fraud and forensic analysis,

eDiscovery and computer forensics, special forensic audits, restructuring of accounting records,

working with and providing financial guidance, both in and out of court and transactional advisory

services to organizations across a multitude of industries.



77588361;1
               Case 24-15755-LMI        Doc 81     Filed 08/09/24     Page 4 of 48




         10.    Further, CohnReznick forensic accounting professionals possess extensive

understanding of business information and financial reporting systems, accounting and auditing

standards and procedures, evidence gathering and investigative techniques, and litigation

processes and procedures. CohnReznick’ professionals experience in forensic accounting,

financial analysis, and expert testimony are proven assets we have and continue to provide, both

in and out of court. Time and time again, our analysis, reports and/or testimony have resulted in

favorable outcomes, both in and out of court.

         11.    CohnReznick’s forensic accountants apply sophisticated data analysis to help

determine what happened, uncover financial deception and potential breach of contract, root out

white collar crime, trace missing funds, and assess damages. CohnReznick’s professionals provide

confidence and comfort that the entirety of an issue is understood and deliver insight to prevent

future situations.

         12.    It should be noted that CohnReznick also has deep experience in disaster recovery

services, which require CohnReznick to maintain and analyze vast amounts of data. To date,

CohnReznick has administered, managed, monitored and overseen the distribution of over fifty

billion of FEMA and other disaster recovery funds which were allocated to thousands of

stakeholders. Further, CohnReznick regularly serve as an arbitrator in financial disputes and have

been engaged in hundreds of bankruptcy matters wherein we have reconciled millions of claims

amounting to billions of dollars.

         13.    CohnReznick’s forensic accountants have literally “seen it all,” and are skilled in

revealing what others have either intentionally or unintentionally hidden. CohnReznick’s vast

experience should give the Debtors’ confidence that our forensic accounting services will be




77588361;1
               Case 24-15755-LMI        Doc 81     Filed 08/09/24     Page 5 of 48




thorough and will provide the insight necessary to achieve the objectives necessary should these

services be required for the Debtors and counsel’s administration of these Chapter 11 Cases.

         14.   CohnReznick is headquartered in New York with additional offices throughout

United States and is one of the largest financial advisory firms in the United States, with

approximately 4,000 employees with a presence of 27 different cities. In particular, CohnReznick

has extensive experience in providing financial advisory services in comparable Chapter 7 and 11

cases across the nation. CohnReznick’s professionals have provided financial advisory and

accounting services to many fiduciaries, debtors, creditors, other constituents and government

agencies in various capacities, in Chapter 7 and 11 cases, including the following: Shamrock

Finance LLC, KSC Corporation of Miami, Miami International Medical Center d/b/a The Miami

Medical Center, AeroFarms, Inc., et. al., IPS Worldwide, LLC, Winc, Inc., et als., New England

Motor Freight, Inc., et. al., SaveSolar Corporation, Inc., et. al., Preferred Care Inc, Agfeed USA,

Inc., Allen Family Foods, Inc., Belle Foods LLC, Cagles Inc., Zacky Farms, Inc., Deb El Food

Products, Nebraska Meat Corp., WorldCom, Inc., TOUSA, Inc., Fleming Companies, Inc., F&O

Scarsdale LLC, et. al., RMP Harbor Services, Inc., Fargo Trucking Company, Inc., XPO Logistics;

Interstate Waste Services, Geodis Wilson USA, Inc.; Doing It Right Technology, LLC; PrePrint

Logistics Management; Commodity Trucking Acquisition LLC; Pacifica Trucks, LLC, Arabella

Petroleum Company, LLC, Townsends, Inc., Allied Industries, Inc., Henry Mayo Newhall

Memorial Hospital, Rubie’s Costume Company, Inc., et al., Shapes/Arch Holdings, Inc.,

Shorebank Corporation, Infinia at Willmar, Inc., and Isaac Hazan & Co. Inc.

         15.   The Debtors believe that CohnReznick possesses the requisite resources and is

highly qualified and uniquely able to assist the Debtors in these Chapter 11 Cases, and respectfully




77588361;1
                  Case 24-15755-LMI        Doc 81     Filed 08/09/24     Page 6 of 48




submit that CohnReznick’s retention is in the best interests of the Debtors, their estates and other

parties in interest.

         A. SERVICES TO BE PROVIDED

         16.      The Debtors anticipate that CohnReznick will, in connection with these Chapter 11

Cases, subject to orders of this Court, and consistent with the Engagement Letter, render

professional services to the Debtors, including, but not limited to include the following:

               a) Assist the Debtors in preparing Monthly Operating Reports as required by the U.S.
                  Trustee for the Southern District of Florida (Miami Division);

               b) Assist the Debtors with information and analysis required pursuant to its cash
                  collateral and debtor in possession (“DIP”) financing arrangements;

               c) Assist the Debtors in the preparation of financial statements and other reports as
                  may be required by the Court or under the U.S. Trustee Guidelines;

               d) Support the Debtors with the winddown of the bankruptcy estates, including any
                  sale(s) or liquidation of assets;

               e) Assist the Debtors in daily administrative financial advisory services; and

               f) Render such other general services consulting or other such assistance as the
                  Debtors and its counsel may deem necessary.

         17.      Subject to this Court’s approval of the relief requested in this Application,

CohnReznick will provide the services to the Debtors.

         18.      The services are necessary to enable the Debtors to maximize the value of their

estates. Should additional services be requested, the Debtors and CohnReznick will separately

agree to the terms of the engagement by means of an addendum to the Engagement Letter or a

separate engagement letter (collectively, “Expanded Retention Documents”). The Debtors will




77588361;1
                  Case 24-15755-LMI       Doc 81    Filed 08/09/24      Page 7 of 48




file such Expanded Retention Documents with the Court (and serve the same upon the applicable

notice parties) for its approval.

         19.      The Debtors believe that the services to be rendered by CohnReznick are necessary

and essential to the performance of the Debtors’ duties and obligations and will not duplicate the

services to be rendered by any other professionals in these Chapter 11 Cases.

         20.      CohnReznick intends to work closely with the Debtors’ representatives and the

other professionals retained by the Debtors to ensure that there is no unnecessary duplication of

services performed or charged to the Debtors’ estates. The Debtors intend to monitor and direct

the services to be provided to maximize efficiencies and promote economy of efforts for the benefit

of the estates.

         21.      The Debtors submit that CohnReznick neither represents nor holds any interest

adverse to the estates in the matter in which they are to be engaged.

         B. TERMS OF RETENTION

         22.      The Debtors believe that CohnReznick should be employed and compensated at the

rates reflected below and in the Neiberg Declaration filed contemporaneously herewith. All

charges for fees and expenses are subject to review by the Court, in compliance with applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any other

applicable procedures and orders of the Court. Compensation will be payable to CohnReznick on

an hourly basis, plus reimbursement of actual and necessary expenses incurred by CohnReznick.




77588361;1
                Case 24-15755-LMI        Doc 81     Filed 08/09/24      Page 8 of 48




          23.   CohnReznick’s normal hourly billing rates for financial advisory services of the

nature to be rendered to the Debtors are as follows:

                                Professional                           Hourly Rate
                              Partners/Principals                      $875 - $1,700
                         Managing Directors/Directors                  $650 - $1,650
                          Senior Managers/Managers                     $545 - $950
                            Seniors/Associate Staff                    $385 - $700
                              Paraprofessionals                        $245 - $375


          24.   CohnReznick’s hourly rates vary with the experience and seniority of the

individuals assigned. The hourly rates of CohnReznick are subject to periodic adjustments to

reflect economic and other conditions and are revised in the normal course of business on February

1 of each year. In addition, as a further accommodation, CohnReznick has agreed to a cap of $725

per hour for Partners/Principals, $715 for Managing Directors, $700 for Directors, $690 for Sr.

Managers, $675 for Managers, and $550 for Seniors of the normal hourly billing rates referenced

herein.

          25.   The Debtors respectfully submit that such rates are reasonable in light of the quality

and specialized nature of the services being provided and are consistent with the market. The

Debtors believe these rates, and the terms and conditions of CohnReznick’s employment are

reasonable.

          26.   Prior to implementing any increases in CohnReznick’s rates from those described

in this Application, the Engagement Letter and Neiberg Declaration, CohnReznick shall file a

supplemental declaration with the Court and provide ten (10) business days’ notice which

supplemental declaration shall explain the basis for the requested rate increases in accordance with

Bankruptcy Code section 330(a)(3)(F) and state whether the Debtors have consented to the rate

increase. The United States Trustee retains all rights to object to any rate increase on all grounds

77588361;1
               Case 24-15755-LMI         Doc 81     Filed 08/09/24    Page 9 of 48




including, but not limited to, the reasonableness standard provided for in Bankruptcy Code, and

all rates and rate increases are subject to review by the Court.

         27.   In addition, CohnReznick will also seek reimbursement for actual and necessary

out-of-pocket expenses incurred in connection with its engagement with the Debtors in these

Chapter 11 Cases, which may include, but are not limited to, postage, overnight mail, courier

delivery, transportation, computer assisted legal research, photocopying, outgoing facsimile

transmissions, airfare, meals and lodging. Consistent with local practice, nonworking travel time

will be charged at half rates. Expenses for actual costs incurred will be charged in accordance with

the applicable Bankruptcy Rules, Local Rules, the U.S. Trustee Guidelines and this Court’s orders.

         28.   The Debtors believe CohnReznick’s fee and expense structure is consistent with

and typical of compensation arrangements entered into by CohnReznick and other comparable

firms in connection with the rendering of similar services under similar circumstances. The

Debtors believe the fee structure requested by CohnReznick as compensation for the services is

ordinary, fair and reasonable.

         29.   CohnReznick will maintain detailed, contemporaneous time records in tenths of an

hour (in 1/10th of an hour increments) and apply to the Court for allowances of compensation and

reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy Code,

including, but not limited to sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules,

the Local Rules, and the Guidelines for Professional Compensation established by the U.S. Trustee

and any additional procedures that may be established by the Court in these Chapter 11 Cases.

         30.   CohnReznick has not received a retainer in these cases.            Additionally, no

prepetition services were performed by CohnReznick as Financial Advisor.




77588361;1
                  Case 24-15755-LMI         Doc 81      Filed 08/09/24     Page 10 of 48




          31.      As set forth in the Neiberg Declaration, CohnReznick has not shared, nor agreed to

share (i) any compensation it has received or may receive with any other party or person, other

than with the Members of their respective firms, or (ii) any compensation another person or party

has received or may receive.

          32.      CohnReznick has provided financial advisory services to other committees, debtors

and trustees in cases before the United States Bankruptcy Court for the Southern District of

Florida. Such prior representation in no way affects the proposed representation as provided for

herein.

V.        DISINTERESTEDNESS OF PROFESSIONALS

          33.      CohnReznick has reviewed its electronic database to determine whether it has any

relationships with the creditors and parties in interest, the list of which was provided by the Debtors

and/or its representatives. To the best of the Debtors’ knowledge, information and belief, and

except as disclosed in the Neiberg Declaration, CohnReznick is a “disinterested person,” as such

term is defined in Bankruptcy Code section 101(14), as modified by Bankruptcy Code section

1107(b) and as required by Bankruptcy Code section 327(a), and does not hold or represent an

interest materially adverse to the Debtors’ estates.

          34.      CohnReznick is a “disinterested person” a person, that
                a) is not a creditor, an equity security holder, or an insider;

                b) is not and was not, within 2 years before the date of the filing of the petition, a

                   director, officer, or employee of the debtor; and

                c) does not have an interest materially adverse to the interest of the estate or of any

                   class of creditors or equity security holders, by reason of any direct or indirect

                   relationship to, connection with, or interest in, the debtor, or for any other reason.

See 11 U.S.C. § 101(14).

77588361;1
               Case 24-15755-LMI         Doc 81      Filed 08/09/24      Page 11 of 48




         35.    As set forth further in the Neiberg Declaration, CohnReznick believes that it does

not have any relationships with creditors or parties in interest that would present a disqualifying

conflict of interest. To the extent that any new relevant facts or relationships bearing on the matters

described herein are discovered or arise during the period of CohnReznick’s retention,

CohnReznick will use reasonable efforts to promptly file a supplemental declaration, as required

by Bankruptcy Rule 2014(a).


         36.    The Debtors are aware that, because CohnReznick is a large accounting and

consulting firm with diverse clients, CohnReznick may represent, may have represented, or may

have connections to certain creditors of the Debtors’ estate or other parties-in-interest in matters

unrelated to the Debtors or these Chapter 11 Cases. Any such representations and connections are

disclosed in the Neiberg Declaration in an abundance of caution.

VI.      BASIS FOR RELIEF
         37.  The Debtors seek to retain CohnReznick to serve as financial advisor for the

Debtors pursuant to Bankruptcy Code section 327, which provides that a Debtor, subject to court

approval:

                may employ one or more attorneys, accountants, appraisers,
                auctioneers, or other professional persons, that do not hold or
                represent an interest adverse to the estate, and that are disinterested
                persons, to represent or assist the trustee in carrying out the trustee’s
                duties under this title.

      11 U.S.C. § 327(a).


         38.      The Debtors submit that, pursuant to Bankruptcy Rule 2014(a), and Local

Bankruptcy Rule 2014-1, CohnReznick should be employed as the Debtors’ Financial Advisor in

these Chapter 11 Cases.


         39.      Bankruptcy Rule 2014 requires that an application for retention include:

77588361;1
               Case 24-15755-LMI         Doc 81    Filed 08/09/24      Page 12 of 48




                [S]pecific facts showing the necessity for the employment, the name
                of the [firm] to be employed, the reasons for the selection, the
                professional services to be rendered, any proposed arrangement for
                compensation, and, to the best of the applicant’s knowledge, all of
                the [firm’s] connections with the debtor, creditors, any other party
                in interest, their respective attorneys and accountants, the United
                States trustee, or any person employed in the office of the United
                States trustee.

Fed. R. Bankr. P. 2014(a).

         40.    The Debtors submit that, for all the reasons stated above and in the Neiberg

Declaration, the retention of CohnReznick as Financial Advisor is warranted. Not granting the

relief requested herein would deprive the Debtors of the assistance of a highly qualified provider

of financial advisory services, to the detriment of the Debtors, their creditors and all other parties

in interest.

         41.    The terms of this engagement were negotiated by the Debtors and CohnReznick at

arm’s-length and in good-faith. The Debtors and CohnReznick respectfully submit that the terms

of CohnReznick’s retention are customary and reasonable for professionals’ engagements, both

out-of-court and in comparable chapter 11 cases, and in the best interests of the Debtors’ estate,

creditors and all parties-in-interest.

         42.    Accordingly, for all of the foregoing reasons, the Debtors believe that the terms and

conditions of the Engagement Letter is fair, reasonable and market-based under the standards set

forth in the Bankruptcy Code. Further, the Debtors respectfully submit that the services provided

by CohnReznick are critical, and request that the Court approve the Engagement Letter and the

employment of CohnReznick.

         43.    Additionally, the Debtors seek approval of the employment of CohnReznick

effective as of the petition date, under the terms set forth in the Engagement Letter, including,




77588361;1
Case 24-15755-LMI   Doc 81   Filed 08/09/24   Page 13 of 48
               Case 24-15755-LMI         Doc 81     Filed 08/09/24      Page 14 of 48




                                  CERTIFICATE OF SERVICE

         I HERBY CERTIFY that on August 9, 2024, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

served this day by transmission of Notices of Electronic Filing generated by CM/ECF to those

parties registered to receive electronic notices of filing in these cases.



                                                        By: /s/ Eyal Berger
                                                        Eyal Berger, Esq.
                                                        Florida Bar No. 11069
                                                        eyal.berger@akerman.com
                                                        AKERMAN LLP
                                                        201 East Las Olas Blvd., Suite 1800
                                                        Fort Lauderdale, FL 33301
                                                        Tel: (954)563-2700
                                                        Fax: (954)463-2224
                                                        Counsel to the Debtors




77588361;1
             Case 24-15755-LMI   Doc 81   Filed 08/09/24   Page 15 of 48




                                 Exhibit A




67988979;1
               Case 24-15755-LMI            Doc 81         Filed 08/09/24     Page 16 of 48




                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                    www.flsb.uscourts.gov




In re:                                                                  Chapter 11

IVANKOVICH FAMILY LLC,                                                  Case No.: 24-15755-LMI
A & O FAMILY LLC,                                                       (Jointly Administered)
A & O FAMILY LLC (Illinois),                                                      24-15762-LMI
ATLAS P2 MANAGING MEMBER, LLC,                                                    24-15767-LMI
                                                                                  24-15770-LMI
         Debtors.                                                /


DECLARATION OF STUART NEIBERG IN SUPPORT OF DEBTORS’ APPLICATION
 FOR AN ORDER (I) AUTHORIZING THE RETENTION AND EMPLOYMENT OF
COHNREZNICK LLP AS FINANCIAL ADVISORS TO THE TO THE DEBTORS AND
   DEBTORS-IN-POSSESSION EFFECTIVE AS OF THE PETITION DATE AND
                    (II) GRANTING RELATED RELIEF

         I, Stuart Neiberg, declare the following under penalty of perjury:

         1.      I am a Partner of CohnReznick LLP (“CohnReznick”) and am duly authorized to

make this Declaration (the “Declaration”). The facts set forth in this Declaration are personally

known to me and, if called as a witness, I could and would testify thereto.

         2.      This Declaration is submitted in support of the application (the “Application”) 1 of

Ivankovich Family LLC, A & O Family LLC, A & O Family LLC (Illinois), Atlas P2 Managing

Member, LLC, the debtors and debtors in possession (collectively, the “Debtors”) in the above-

captioned chapter 11 cases (the “Chapter 11 Cases”) for the entry of an order, pursuant to sections

327, 328 and 330 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014 and



1
         Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Application and/or the Initial Declaration.


                                                       2
              Case 24-15755-LMI        Doc 81        Filed 08/09/24   Page 17 of 48




2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 2014-1

and 2016-1 of the Local Bankruptcy Rules for the Southern District of Florida (the “Local Rules”),

(i) authorizing the Debtors to retain and employ CohnReznick as their Financial Advisors,

effective as of the Petition Date and to provide the disclosures required under section 327 of the

Bankruptcy code and Bankruptcy Rule 2014(a).

       3.      The Debtors seek to retain CohnReznick as their Financial Advisor because

CohnReznick is a financial advisory firm with extensive experience in restructuring and providing

financial and operational guidance to fiduciaries of and companies in distressed situations and

restructuring scenarios. CohnReznick offers a full complement of services, including, audit, tax,

financial advisory, restructuring workouts, transactions, bankruptcy, expert testimony, fraud and

forensic analysis, eDiscovery and computer forensics, special forensic audits, restructuring of

accounting records, working with and providing financial guidance, both in and out of court and

transactional advisory services to organizations across a multitude of industries.

       4.      Further, CohnReznick forensic accounting professionals possess extensive

understanding of business information and financial reporting systems, accounting and auditing

standards and procedures, evidence gathering and investigative techniques, and litigation

processes and procedures. CohnReznick’ professionals experience in forensic accounting,

financial analysis, and expert testimony are proven assets we have and continue to provide, both

in and out of court. Time and time again, our analysis, reports and/or testimony have resulted in

favorable outcomes, both in and out of court.

       5.      CohnReznick’s forensic accountants apply sophisticated data analysis to help

determine what happened, uncover financial deception and potential breach of contract, root out

white collar crime, trace missing funds, and assess damages. CohnReznick’s professionals provide



                                                 3
              Case 24-15755-LMI        Doc 81        Filed 08/09/24   Page 18 of 48




confidence and comfort that the entirety of an issue is understood and deliver insight to prevent

future situations.

        6.      It should be noted that CohnReznick also has deep experience in disaster recovery

services, which require CohnReznick to maintain and analyze vast amounts of data. To date,

CohnReznick has administered, managed, monitored and overseen the distribution of over fifty

billion of FEMA and other disaster recovery funds which were allocated to thousands of

stakeholders. Further, CohnReznick regularly serve as an arbitrator in financial disputes and have

been engaged in hundreds of bankruptcy matters wherein we have reconciled millions of claims

amounting to billions of dollars.

        7.      CohnReznick’s forensic accountants have literally “seen it all,” and are skilled in

revealing what others have either intentionally or unintentionally hidden. CohnReznick’s vast

experience should give the Debtors’ confidence that our forensic accounting services will be

thorough and will provide the insight necessary to achieve the objectives necessary should these

services be required for the Debtors and counsel’s administration of these Chapter 11 Cases.

        8.      CohnReznick is headquartered in New York with additional offices throughout

United States and is one of the largest financial advisory firms in the United States, with

approximately 4,000 employees with a presence of 27 different cities.

        9.      In particular, CohnReznick has extensive experience in providing financial

advisory services to troubled companies in the Debtor’s specific industry.         CohnReznick’s

professionals have advised debtors, creditors and other constituents in many similar Chapter 11

cases. The current partners, managers, senior managers, directors, and other professional staff of

CohnReznick have extensive experience working with financially troubled companies in complex

financial restructurings in and out-of-court and in Chapter 11 proceedings. CohnReznick and its



                                                 4
              Case 24-15755-LMI        Doc 81        Filed 08/09/24    Page 19 of 48




principals have been involved as financial advisors to debtors, creditors, equity constituencies and

government agencies in many Chapter 11 cases, including, among others: Shamrock Finance LLC,

KSC Corporation of Miami, Miami International Medical Center d/b/a The Miami Medical

Center, AeroFarms, Inc., et. al., IPS Worldwide, LLC, Winc, Inc., et als., New England Motor

Freight, Inc., et. al., SaveSolar Corporation, Inc., et. al., Preferred Care Inc, Agfeed USA, Inc.,

Allen Family Foods, Inc., Belle Foods LLC, Cagles Inc., Zacky Farms, Inc., Deb El Food Products,

Nebraska Meat Corp., WorldCom, Inc., TOUSA, Inc., Fleming Companies, Inc., F&O Scarsdale

LLC, et. al., RMP Harbor Services, Inc., Fargo Trucking Company, Inc., XPO Logistics; Interstate

Waste Services, Geodis Wilson USA, Inc.; Doing It Right Technology, LLC; PrePrint Logistics

Management; Commodity Trucking Acquisition LLC; Pacifica Trucks, LLC, Arabella Petroleum

Company, LLC, Townsends, Inc., Allied Industries, Inc., Henry Mayo Newhall Memorial Hospital,

Rubie’s Costume Company, Inc., et al., Shapes/Arch Holdings, Inc., Shorebank Corporation,

Infinia at Willmar, Inc., and Isaac Hazan & Co. Inc.

                                         Services to be Provided

       10.     In connection with the above-captioned Chapter 11 Cases, the Debtors have

requested authorization to retain CohnReznick to act as their Financial Advisor in these Chapter

11 Cases pursuant to the Engagement Letter.

       11.     Consistent with the terms of the Engagement Letter and subject to further order of

this Court, CohnReznick will, in connection with these Chapter 11 Cases, render professional

services to the Debtors, including but not limited to the following:

               a. Assist the Debtors in preparing Monthly Operating Reports as required by the

                   United States Trustee for the Southern District of Florida (Miami Division);




                                                 5
              Case 24-15755-LMI           Doc 81        Filed 08/09/24   Page 20 of 48




               b. Assist the Debtors with information and analysis required pursuant to its cash

                     collateral and debtor in possession (“DIP”) financing arrangements;

               c. Assist the Debtors in the preparation of financial statements and other reports

                     as may be required by the Court or under the U.S. Trustee Guidelines;

               d. Support the Debtors with the winddown of the bankruptcy estates, including

                     any sale(s) or liquidation of assets;

               e. Assist the Debtors in daily administrative financial advisory services; and

               f. Render such other general services consulting or other such assistance as the

                     Debtors and its counsel may deem necessary.

       12.     Subject to this Court’s approval of the relief requested in the Application,

CohnReznick will render professional services to the Debtors. CohnReznick will coordinate with

the Debtors’ representatives and the other retained professionals by the Debtors to avoid

unnecessary duplication of services.

       13.     Should additional services be requested, CohnReznick will separately agree to the

terms of the engagement by mean of an addendum to the Engagement Letter or a separate

engagement letter.

                                         Professional Compensation

       14.     CohnReznick’s normal billing rates for the financial advisory services of the nature

to be rendered to the Debtors are as follows:

                                Professional                             Hourly Rate
                              Partners/Principals                        $875 - $1,700
                        Managing Directors/Directors                     $650 - $1,650
                          Senior Managers/Managers                       $545 - $950
                            Seniors/Associate Staff                      $385 - $700
                              Paraprofessionals                          $245 - $375



                                                    6
                Case 24-15755-LMI      Doc 81       Filed 08/09/24   Page 21 of 48




CohnReznick’s hourly rates vary with the experience and seniority of the individuals assigned.

The hourly rates of CohnReznick are subject to periodic adjustments to reflect economic and other

conditions. In the normal course of business, CohnReznick revises its hourly rates February 1 of

each year. In addition, as a further accommodation, CohnReznick has agreed to a cap of $725 per

hour for Partners/Principals, $715 for Managing Directors, $700 for Directors, $690 for Sr.

Managers, $675 for Managers, and $550 for Seniors of the normal hourly billing rates referenced

herein.

          15.   The Debtors and CohnReznick respectfully submit that such rates are reasonable in

light of the quality and specialized nature of the services being provided and are consistent with

the market.

          16.   The Debtors and CohnReznick understand that any compensation paid to

CohnReznick must be approved by this Court upon application consistent with the Bankruptcy

Code, applicable Bankruptcy Rules or further Order of this Court. In addition, CohnReznick will

also seek reimbursement for actual and necessary out-of-pocket expenses incurred in connection

with its engagement with the Debtors in the Chapter 11 Cases, which may include, but are not

limited to, postage, overnight mail, courier delivery, transportation, computer assisted legal

research, photocopying, outgoing facsimile transmissions, airfare, meals and lodging. Consistent

with local practice, nonworking travel time will be charged at half of actual time incurred.

Expenses for actual costs incurred will be charged in accordance with the applicable Rules and

Guidelines of this Court.

          17.   CohnReznick did not receive a retainer with respect to its proposed representation

of the Debtors in these Chapter 11 Cases. Additionally, no prepetition services were performed

by CohnReznick as Financial Advisors.



                                                7
              Case 24-15755-LMI         Doc 81        Filed 08/09/24   Page 22 of 48




       18.     CohnReznick will maintain detailed, contemporaneous time records in tenths of an

hour (in 1/10th of an hour increments) and apply to the Court for allowances of compensation and

reimbursement of expenses in accordance with the applicable provisions of the Bankruptcy Code,

including, but not limited to sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules,

the Local Rules, and the Guidelines for Professional Compensation established by the U.S. Trustee

and any additional procedures that may be established by the Court in these Chapter 11 Cases.

                                    CohnReznick’s Disinterestedness

       19.     In connection with its proposed retention by the Debtors in these Chapter 11 Cases,

CohnReznick undertook a lengthy conflicts analysis process to determine whether it had any

conflicts or other relationships that might cause it to hold or represent an interest adverse to the

Debtors or might cause it to not be disinterested. Specifically, CohnReznick obtained from the

Debtors and/or its representatives the names of individuals and entities that may be parties-in-

interest in these Chapter 11 Cases that were reasonably made known to CohnReznick by the

Debtors. Such parties are listed on Schedule 1 attached hereto (the “Potential Parties in Interest”).

CohnReznick’s review, completed under my supervision, consisted of a query of the Schedule 1

parties within an internal computer database containing names of individuals and entities that are

present or former clients of CohnReznick. Only individuals and entities that are a party to active

matters and matters that have been inactive within a five-year period are considered in determining

conflicts. In addition, an email is sent to all CohnReznick’s professionals inquiring of any potential

connections with the Potential Parties-in-Interest.

       20.     If additional potential parties in interest are reasonably made known to

CohnReznick, it will review its connection with such parties and supplement this Declaration if

additional information requiring disclosure is discovered.



                                                  8
              Case 24-15755-LMI         Doc 81       Filed 08/09/24   Page 23 of 48




       21.     The results of CohnReznick’s inquiry into the Potential Parties in Interest (or any

of their known or apparent affiliates) are listed on Schedule 2 annexed hereto. The parties listed

on Schedule 2 include current and former clients as well as professionals with which CohnReznick

has worked with in the past. To the best of my knowledge and belief, any representation by

CohnReznick of an entity listed on Schedule 2 (or its known or apparent affiliates) was or is only

on matters that are unrelated to the Debtors and the Chapter 11 cases. To the extent that

CohnReznick discovers or enters into any new, material relationship with Potential Parties-in-

Interest, it will supplement this Declaration. To the best of my knowledge and belief, CohnReznick

has not represented any Potential Parties in Interest in connection with matters relating to the

Debtors, its estates, assets or businesses and will not represent other entities which are creditors

of, or have other relationships to, the Debtors in matters relating to these Chapter 11 cases.

       22.     CohnReznick, and its affiliates are advisors and crisis managers providing services

and advice in many areas, including restructuring and distressed debt. As part of its diverse

practice, CohnReznick appears in numerous cases, proceedings and transactions that involve many

different professionals, including attorneys, accountants, investment bankers and financial

consultants, some of whom may represent claimants and parties-in-interest in the Debtors’

Chapter 11 cases. Also, CohnReznick has performed in the past, and may perform in the future,

advisory consulting services for various attorneys and law firms, and has been represented by

several attorneys and law firms, some of whom may be involved in these proceedings. In addition,

CohnReznick has in the past, may currently and will likely in the future be working with or against

other professionals involved in these cases in matters unrelated to the Debtors or these Chapter 11

cases. Likewise, certain such professionals who are retained in these Chapter 11 cases might have

referred work to CohnReznick. Based on my current knowledge of the professionals involved,



                                                 9
              Case 24-15755-LMI         Doc 81     Filed 08/09/24     Page 24 of 48




and to the best of my knowledge, information, and belief, insofar as I have been able to ascertain

after reasonable inquiry, none of these relationships constitute interests adverse to the Debtors in

matters upon which CohnReznick is to be employed, and none are in connection with these cases.

       23.     From time to time, CohnReznick may have provided services, and CohnReznick

currently and likely in the future will continue to provide services, to certain creditors of the

Debtors and various other parties adverse to the Debtors in matters wholly unrelated to these

Chapter 11 cases. As described herein, however, CohnReznick has undertaken a detailed search

to determine, and to disclose, whether it either is providing or has provided services to any

significant creditor, equity security holder, insider or other Potential Parties-in-Interest in such

unrelated matters.

       24.     In addition, CohnReznick has previously appeared, currently appears and expects

to appear in the future in cases unrelated to these Chapter 11 cases before each of the judges of the

United States Bankruptcy Court for the Southern District of Florida and in which the attorneys,

professionals and staff of the Office of the United States Trustee may be involved.

       25.     It is possible that certain CohnReznick Personnel or CohnReznick employees,

principals, managing directors, board members, equity holders, or affiliates of any of the

foregoing, may own interests in mutual funds or other investment vehicles (including various types

of private funds) that own debt, equity securities, or other financial instruments, including bank

loans and other obligations, of certain parties-in-interest in this matter. Typically, the holders of

such interests have no control over investment decisions related to such investment funds or

financial instruments. CohnReznick’s policy prohibits its employees from personally trading in

the Debtors’ securities.




                                                 10
               Case 24-15755-LMI        Doc 81     Filed 08/09/24      Page 25 of 48




       26.     Insofar as I have been able to ascertain through diligent inquiry, except as set forth

below, neither I, CohnReznick, nor any principal or professional employee of CohnReznick have

any connection with the Debtor, its creditors, any other party-in-interest, their current respective

attorneys or professionals, the United States Trustee or any person employed in the office of the

United States Trustee, nor do we hold or represent any entity having, an adverse interest in

connection with the Debtors’ Chapter 11 cases, and is a disinterested person, as that term is defined

in Bankruptcy Code section 101(14), except as follows:

 Interested Party            Category                         Disclosure

 Busey Bank                  Schedule A/B Assets              CohnReznick         has     provided
                                                              assurance services in matters
                                                              unrelated to the Debtors’ Chapter 11
                                                              Cases. Revenues in connection with
                                                              these services are less than 1% of
                                                              CohnReznick’s total revenues for the
                                                              fiscal year ending 1/31/23.
 Township Capital LLC        Potential Claims                 CohnReznick         has     provided
                                                              consulting services in matters
                                                              unrelated to the Debtors’ Chapter 11
                                                              Cases. Revenues in connection with
                                                              these services are less than 1% of
                                                              CohnReznick’s total revenues for the
                                                              fiscal year ending 1/31/23.
 Wells Fargo                 Schedule A/B Assets              CohnReznick has provided tax,
                                                              consulting and assurance services in
                                                              matters unrelated to the Debtors’
                                                              Chapter 11 Cases. Revenues in
                                                              connection with these services are
                                                              less than 1% of CohnReznick’s total
                                                              revenues for the fiscal year ending
                                                              1/31/23.


       27.     Neither I, CohnReznick, nor any professional employee of CohnReznick is related

professionally to the Debtors, its creditors or any other party in interest herein or their respective

attorneys in the matters for which CohnReznick is proposed to be retained.


                                                 11
                 Case 24-15755-LMI      Doc 81     Filed 08/09/24     Page 26 of 48




        28.      Neither I, CohnReznick, nor any professional employee of CohnReznick is

currently providing or has previously provided services and/or work for the Debtors, Steven

Ivankovich, Dr. Anthony Ivankovich, and/or Dr. Olga Ivankovich.

        29.      CohnReznick has in the past worked with, continue to work with, and have mutual

clients with certain law firms who may represent parties-in-interest in the cases. None of these

engagements or relationships relate to these cases.

        30.      CohnReznick has had, may currently have, and may in the future have commercial

or professional relationships directly or indirectly with customers, competitors, and creditors of

the Debtors. CohnReznick has undertaken a detailed search to determine, and to disclose, whether

it is performing or has performed services for parties in matters related to these cases.

        31.      CohnReznick maintains a computer client database (the “Database”) containing the

names of all of the firm’s current and former clients, and where practicable, known affiliates of

and connections to those clients. The Database is systematically updated in the firm’s ordinary

course of business and as the firm receives new matters. In connection with the preparation of this

Declaration, I caused checks against the Database to be performed for the Potential Parties in

Interest list.

        32.        Despite the efforts described above to identify and disclose CohnReznick’s

connections with parties-in-interest in the cases, and because the Debtors have numerous

creditors and other relationships, CohnReznick is unable to state with certainty that every client

representation or other connection has been disclosed. If it discovers additional information that

requires disclosure, CohnReznick will file supplemental disclosures with the Court as promptly

as possible. CohnReznick reserves the right to supplement this Declaration in the event that

CohnReznick discovers any facts bearing on matters described in this Declaration regarding



                                                 12
              Case 24-15755-LMI          Doc 81      Filed 08/09/24      Page 27 of 48




CohnReznick’s employment by the Debtors.

        33.     To the best of my knowledge, information and belief, insofar as I have been able to

ascertain after reasonable inquiry, except as set forth herein, CohnReznick has not been retained

to assist any entity or person other than the Debtors on matters relating to, or in connection with,

these Chapter 11 cases. If this Court approves the proposed employment of CohnReznick as

financial advisors to the Debtors, it will not accept any engagement or perform any services in the

cases for any entity or person other than the Debtors. CohnReznick may, however, continue to

provide professional services to, and engage in commercial or professional relationships with,

entities or persons that may be creditors of the Debtors or parties-in-interest in these Chapter 11

Cases; provided such services do not and will not relate to, or have any direct connection with,

these Chapter 11 Cases or the Debtors.

        34.     To the best of my knowledge, CohnReznick is a disinterested person within the

meaning of Bankruptcy Code section 101(14) in that its members and associates (a) are not

creditors, equity security holders or insiders of either Debtors, (b) are not and were not within two

years before the Filing Date a director, officer or employee of either Debtors, (c) do not have an

interest materially adverse to the interest of either estate or any class of creditors or equity security

holders by reason of any direct or indirect relationship to, connection with or interest in either

Debtors, or for any other reason.

        35.     CohnReznick is not aware of any past or present relationship that would disqualify

CohnReznick from representing the Debtors.

        36.     If any contested matter, adversary proceeding, other litigation, or other matter

arising in the Debtors,’ Chapter 11 cases create an actual conflict between the Debtors and any of




                                                   13
              Case 24-15755-LMI         Doc 81     Filed 08/09/24      Page 28 of 48




the parties that CohnReznick may represent in matters unrelated to these Chapter 11 cases, the

Debtors will not be represented by CohnReznick with respect to such matter.

       37.     I am not related or connected to, and, to the best of my knowledge and information,

no other professional of CohnReznick is related or connected to (a) any judge of the United States

Bankruptcy Court for the Southern District of Florida or any of the District Judges for the Southern

District of Florida, or (b) the U.S. Trustee, or to any employee in the office thereof.

       38.     I understand there is a continuing duty to disclose any adverse interest and change

of disinterestedness.

       39.     I understand that the Court’s approval of the application is not approval of any

proposed terms of compensation and under § 328(a), the Court may allow compensation on terms

different from those proposed.

       40.     No promises have been received by CohnReznick, or by an employee thereof, as to

compensation in connection with these Chapter 11 Cases other than in accordance with the

provisions of the Bankruptcy Code.

       41.     CohnReznick further states pursuant to Rule 2016(b) of the Federal Rules of

Bankruptcy Procedures that it has not shared, nor agreed to share (a) any compensation it has

received or may receive with another party or person, other than with the partners of CohnReznick

as permitted by Bankruptcy Code section 504, or (b) any compensation another person or party

has received or may receive.




                                                 14
              Case 24-15755-LMI       Doc 81     Filed 08/09/24    Page 29 of 48




        Pursuant to 28 U.S.C. Section 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated: Boca Raton, Florida
August 9, 2024


                                             ______________________
                                             Stuart Neiberg




                                               15
Case 24-15755-LMI   Doc 81    Filed 08/09/24      Page 30 of 48




                        Schedule 1

             Potential Parties in Interest List
                Case 24-15755-LMI             Doc 81       Filed 08/09/24         Page 31 of 48




                                               SCHEDULE 1
                                    IVANKOVICH FAMILY LLC,
                                    A & O FAMILY LLC,
                                    A & O FAMILY LLC (Illinois),
                                    ATLAS P2 MANAGING MEMBER, LLC,

                                    List of Potential Parties in Interest 1



    Category                                                Parties
    Debtor                                                  Atlas P2 Managing Member LLC
    Non-Debtor                                              P2 Portfolio Managing Member LLC
    Potential Claims                                        Jeanette Ivankovich
    Potential Claims                                        Schiller Ducanot and Fleck
    Potential Claims                                        Township Capital LLC
    Potential Claims                                        Township Orlando LLC
    Schedule E/F                                            Delaware Taxing Authority, Division
                                                            of Revenue
    Schedule E/F                                            Internal Revenue Service
    Schedule E/F                                            Chuchak & Tescon PC
    Schedule E/F                                            Schoenberg Finkel Law Firm
    Schedule E/F                                            P-5 GRA LLC
    Schedule E/F                                            Pami Grand Too LLC
    Schedule E/F                                            Township GP Fund II LP
    Equity Security Holder                                  Atlas Holdings Investmnt LLC
    Equity Security Holder                                  Atlas Township Orland LLC
    Debtor                                                  A&O Family LLC
    Schedule A/B: Assets                                    Celadon Financial Group LLC
    Schedule A/B: Assets                                    Royal Bank of Canada
    Schedule A/B: Assets                                    Busey Bank
    Schedule A/B: Assets                                    Wells Fargo
    Schedule A/B: Assets                                    Stifel Bank
    Schedule A/B: Assets                                    Landmark Equity Partners SVI ASP
                                                            Fund


1
          This list (and the categories contained herein) are for purposes of a conflicts check only and should not be
relied upon by any party as a list of creditors or for any other purpose. As listing a party once allows our conflicts
specialists to run a check on such party, we have attempted to remove duplicate entries where possible. Accordingly,
a party that otherwise would fall under multiple categories is likely to be listed under only one category.
           Case 24-15755-LMI       Doc 81    Filed 08/09/24   Page 32 of 48




Category                                     Parties
Schedule A/B: Assets                         PA Direct Credit Opportunities Fund
                                             II LP
Schedule A/B: Assets                         PB Landmark XV Feeder Fund
Schedule A/B: Assets                         PB Strategic Partners Feeder VI, LP
Schedule A/B: Assets                         AD Astra Secured Corporate
                                             Convertible Bond
Schedule A/B: Assets                         Commercial Mortgage-Backed
                                             Security
Potential Claims                             Zhu Zhai Holdings Limited
Potential Claims                             Peter Pui Tak Lee
Potential Claims                             Webush Securities
Other Corporate Entities/Investment Owners   Pilgrim Warwich LLC
Other Corporate Entities/Investment Owners   Pilgrim Windtree LLC
Other Corporate Entities/Investment Owners   Pilgrim Coulter LLC
Other Corporate Entities/Investment Owners   Lombard Capital LLC
Other Corporate Entities/Investment Owners   Scranton Investments Holdings Corp.
                                             II, Ltd
Other Corporate Entities/Investment Owners   Mat Realty Ventures, LLC
Other Corporate Entities/Investment Owners   941 W Lawrence Ventures LLC
Other Corporate Entities/Investment Owners   Contessa Properties, LLC
Other Corporate Entities/Investment Owners   Anthony and Olga Ivankovich
Other Corporate Entities/Investment Owners   Hoffman Estates Development
                                             Venture, Inc.
Other Corporate Entities/Investment Owners   A&O Family LLC (Florida)
Other Corporate Entities/Investment Owners   Atlas Birchwood, LLC
Other Corporate Entities/Investment Owners   Contessa Marine Research, LLC
Other Corporate Entities/Investment Owners   IMG Marine, LLC
Other Corporate Entities/Investment Owners   Yacht Daddy LLC
Other Corporate Entities/Investment Owners   Saucer Sled LLC
Other Corporate Entities/Investment Owners   Steven and Anthony Ivankovich
Other Corporate Entities/Investment Owners   Anthony Ivankovich
Other Corporate Entities/Investment Owners   Downtown Property Ventures LLC
Other Corporate Entities/Investment Owners   Contessa Realty LLC
Other Corporate Entities/Investment Owners   Turtle Way LLC
Schedule E/F Creditors                       Florida Department of Revenue
Other                                        Rodney Balais
Other                                        Mandell Hahm Advisory Group, Ltd.
Other                                        Nancy Webber
Other                                        Olga D. Ivankovich Estate Trust
Debtor                                       Ivankovich Family LLC
Investments                                  PHMMF - Phamra Mar SAU
            Case 24-15755-LMI   Doc 81   Filed 08/09/24   Page 33 of 48




Category                                 Parties
Investments                              SYRA Health
Investments                              William Scherr
Investments                              Stifel Nicolaus & Company
Investments                              JP Morgan Chase, N.A.
Investments                              KJI Marine Manufacturing LLC
Investments                              Bequia Fast Ferry Ltd
Investments                              Skosk Ltd
Investments                              PTCG Ptd Ltd
Investments                              Zus Tennis LLC
Potential Claims                         Atlas Apartment Acquisitions
Potential Claims                         Akerman LP
Shareholder                              North American Property Ventures
                                         Ltd.
Other                                    Conyers Trust Company Limited
Affiliate                                Premier Orland Portfolio Two, LLC
Other                                    A & O Family LLC
Investments                              AGNC Investment Corp
Investments                              EFCPRC - Ellington F Pfd
Investments                              Panbela
Investments                              60 Degrees
Investments                              UR Energy I
Schedule E/F Creditors                   Illinois Department of Revenue
Other                                    Bloomberg
Affiliate                                Glencoe Family Dwelling LLC
other                                    Shana Willis
other                                    R.A. Corporate Creations Network,
                                         Inc.
other                                    Consilient Holdings Investments
                                         LLC
               Case 24-15755-LMI      Doc 81     Filed 08/09/24    Page 34 of 48




                                          Schedule 2

            Disclosures in Connection with the Potential Parties in Interest List
CohnReznick LLP has worked on wholly unrelated matters in the past, may currently work on
wholly unrelated matters and may work on wholly unrelated matters in the future with or on behalf
of the following parties:
 Interested Party          Category                        Disclosure

 Busey Bank                Schedule A/B Assets             CohnReznick         has     provided
                                                           assurance services in matters
                                                           unrelated to the Debtors’ Chapter 11
                                                           Cases. Revenues in connection with
                                                           these services are less than 1% of
                                                           CohnReznick’s total revenues for the
                                                           fiscal year ending 1/31/23.
 Township Capital LLC      Potential Claims                CohnReznick         has     provided
                                                           consulting services in matters
                                                           unrelated to the Debtors’ Chapter 11
                                                           Cases. Revenues in connection with
                                                           these services are less than 1% of
                                                           CohnReznick’s total revenues for the
                                                           fiscal year ending 1/31/23.
 Wells Fargo               Schedule A/B Assets             CohnReznick has provided tax,
                                                           consulting and assurance services in
                                                           matters unrelated to the Debtors’
                                                           Chapter 11 Cases. Revenues in
                                                           connection with these services are
                                                           less than 1% of CohnReznick’s total
                                                           revenues for the fiscal year ending
                                                           1/31/23.
             Case 24-15755-LMI   Doc 81   Filed 08/09/24   Page 35 of 48




                                 Exhibit B




67988979;1
                Case 24-15755-LMI      Doc 81     Filed 08/09/24    Page 36 of 48




July 29, 2024

Ivankovich Family, LLC
A & O Family LLC
A & O Family LLC (Illinois)
Atlas P2 Managing Member, LLC
c/o Steven Ivankovich
791 Crandon Boulevard, Penthouse 6
Key Biscayne, FL 33149

Re: Ivankovich Family, LLC, A & O Family LLC, A & O Family LLC (Illinois),
    Atlas P2 Management Member, LLC
    United States Bankruptcy Court, Southern District of Florida (Miami Division), Ch. 11
    Bank. Case No.: 24-15755-LMI (Jointly Administered)
                     24-15762-LMI, 24-15767-LMI, 24-15770-LMI

Dear Mr. Ivankovich:

Thank you for choosing CohnReznick LLP ("CohnReznick" and/or “we”) to perform consulting
services for Ivankovich Family, LLC, A & O Family LLC, A & O Family LLC (Illinois), Atlas
P2 Management Member, LLC (collectively referred to herein as the “Client” and/or “A & O”
and/or “you”). This letter will confirm, subject to Bankruptcy Court approval, the engagement of
CohnReznick as Financial Advisor to A & O during the chapter 11 proceedings. This engagement
letter and the attached General Terms and Conditions (collectively, the "Agreement") shall confirm
our understanding of the services we are to provide.

Description of Services

Our services will be limited to those requested by you. As of the date of this letter, you have
requested that we perform the following services:

Scope of Services

CohnReznick will provide various services, including but not limited to:

    1. Assisting A & O in preparing Monthly Operating Reports as required by the United States
       Trustee for the Southern District of Florida (Miami Division);
    2. Assisting A & O with information and analysis required pursuant to its cash collateral and
       Debtor in Possession (“DIP”) financing arrangements;
    3. Assisting A & O in the preparation of financial statements and other reports as may be
       required by the Court or under the United States Trustee Guidelines;
    4. Supporting A & O with the winddown of the bankruptcy estates, including any sale(s) or
       liquidation of assets;
    5. Assisting A & O in daily administrative financial advisory services; and
    6. Rendering such other general services consulting or other such assistance as A & O or
       its counsel may deem necessary.
              Case 24-15755-LMI         Doc 81     Filed 08/09/24      Page 37 of 48




Ivankovich Family, LLC, A & O Family LLC
A & O Family LLC (Illinois), Atlas P2 Managing Member, LLC
c/o Steven Ivankovich
July 29, 2024


Engagement Administration

In performing our services, we will be relying on the accuracy and reliability of information provided
by the Client. Our services will not constitute an audit, review, compilation or any other form of
assurance of the information provided; and, accordingly, we will not express an opinion or
conclusion or provide any other form of assurance on the completeness or accuracy of the
information.

Our work, in connection with the performance of these services, does not include any procedures
designed to discover defalcations or other irregularities, should any exist. You are responsible for
the safeguarding of assets, the proper recording of transactions in the books of accounts, the
substantial accuracy of the financial records, and the full and accurate disclosure of all relevant
facts affecting the services to us.

The Client is responsible for assuming all management responsibilities and for overseeing the
services we are providing and shall designate an individual, preferably from senior management,
who possesses suitable skill, knowledge, and experience, to oversee such services. In addition,
the Client is responsible for evaluating the adequacy and results of any services performed
hereunder and accepting responsibility for the results of such services.

The services in no way include investment advice, as CohnReznick does not, and will not, provide
investment advice. Client acknowledges that any advice received from CohnReznick will not be
understood or used by Client as investment advice. CohnReznick is not a registered investment
adviser and, therefore, will not give advice with respect to investments made or maintained by
Client, or otherwise.

This Agreement does not constitute an engagement to perform any services other than those
described in this Agreement, and only for the entities referred to as Client herein. Should
additional services be requested, we will separately agree to the terms of the engagement by
means of an addendum to this Agreement or a separate engagement letter.

Fees and Expenses

The Client agrees to pay CohnReznick fees for its services based upon the amount of time
expended in performing the services at CohnReznick’s hourly rates in effect for the various levels
of responsibility plus out-of-pocket costs and expenses. Our current hourly rates by staff level are
as follows:

       Partners/Principals                                            $875 - $1,700
       Managing Directors/Directors                                   $650 - $1,650
       Senior Managers/Managers                                       $545 - $950
       Senior/Associate Staff                                         $385 - $700
       Paraprofessionals                                              $245 - $375
              Case 24-15755-LMI       Doc 81     Filed 08/09/24    Page 38 of 48




Ivankovich Family, LLC, A & O Family LLC
A & O Family LLC (Illinois), Atlas P2 Managing Member, LLC
c/o Steven Ivankovich
July 29, 2024


CohnReznick revises its hourly rates on February 1 of each year. In addition, the Client will be
invoiced for an administrative and technology fee (as set forth in the attached General Terms and
Conditions). In addition, as a further accommodation, CohnReznick has agreed to a cap of $725
per hour for Partners/Principals, $715 for Managing Directors, $700 for Directors, $690 for Sr.
Managers, $675 for Managers, and $550 for Seniors of the normal hourly billing rates referenced
herein.

In the event any payment set forth above is not received on or before the date when payment
becomes due, CohnReznick shall have the right to terminate this Agreement or suspend the
services until such payment is received by CohnReznick.

The fee is based on anticipated cooperation from the Client's personnel and the assumption that
unexpected circumstances will not be encountered during this engagement. Our access to
relevant books and records, the condition of that information, and the cooperation of the parties
involved in this matter will affect our time on this engagement and accordingly our fees. This
Agreement and our fee estimate assume that the underlying information to be utilized to perform
our services is readily available and in a format acceptable to CohnReznick.

Payments, Compensation and Out of Pocket Expense Reimbursement

Requests for payment and reimbursement of expenses will be made in accordance with its
customary practices and in accordance with the Amended Guidelines for Fees and
Disbursements for Professionals in the United States Bankruptcy Court for the Southern District
of Florida (Miami Division). During the chapter 11 cases, CohnReznick will apply to the Court for
allowance of compensation and reimbursement of actual and necessary out-of-pocket expenses
pursuant to the procedures set forth in sections 330 and 331 of the Bankruptcy Code, applicable
Bankruptcy Rules, the Local Rules, and any other procedures as may be fixed by order of the
Court.

Wire instructions are as follows:
KeyBank National Association
ABA # 021300077
Account: CohnReznick LLP
Account #: 328612942990




                          [Remainder of Page Left Intentionally Blank]
Case 24-15755-LMI   Doc 81   Filed 08/09/24   Page 39 of 48
                  Case 24-15755-LMI               Doc 81          Filed 08/09/24       Page 40 of 48
                                       GENERAL TERMS AND CONDITIONS



References to Client in these General Terms and                     permissible, notify Client promptly of the Demand to
Conditions refers to “you”, “Company”, “Client” or other            allow Client to seek a protective order or other relief,
term used in the engagement letter to refer to the                  unless the Demand is made pursuant to regulatory
individual(s) or entity(ies) for whom the services are              oversight. Client shall reimburse CohnReznick for its
being performed and the individual(s) or entity(ies) who            professional time, expenses (including reasonable
signed the engagement letter.                                       attorneys’ fees), costs and/or losses incurred in
                                                                    connection with a Demand or any other production of
Client Representations: Client agrees to the best of                Client information authorized or requested by the
Client’s knowledge and belief to be truthful, accurate              Client, provided CohnReznick is not a party to the
and complete in making oral or written representations              proceeding or the subject of the investigation in which
to CohnReznick during the engagement and in any                     the information is sought.
written representations at the conclusion of the
engagement. Because of the importance of                            Record Retention: CohnReznick’s working papers and
management’s representations to the services, Client                other file materials are CohnReznick’s property and are
shall be responsible for any and all liabilities, losses,           not a substitute for Client’s own records. It is Client’s
damages and costs (including attorneys’ fees) incurred              responsibility to retain copies of its own records and
or suffered by CohnReznick arising out of or caused by              any deliverables. CohnReznick shall not store any
any     misrepresentations    by     Client      or    its          Client information or deliverables for Client, including
representative(s).                                                  documents contained in any CohnReznick portal.
                                                                    Client agrees that CohnReznick shall not be liable for
Invoicing: An administrative and technology charge of               the destruction of CohnReznick's files including any
7% of fees will be added to each invoice to cover costs             Client information.
such as technology usage, software licensing,
research        databases,         word       processing,           Non-Solicitation: During the performance of the
telecommunications, etc. Invoices not paid in full within           services and for one (1) year thereafter, in the event
thirty (30) days of receipt will accrue interest of 1% per          Client hires a CohnReznick employee/partner, Client
month (12% annually) from the date of the invoice until             will pay a fee equal to one times that individual’s total
paid.                                                               annual compensation (which shall be payable at the
                                                                    time of employment), provided however, that such fee
Client shall reimburse CohnReznick for reasonable                   shall not apply when the individual is hired with
costs and attorneys’ fees incurred by CohnReznick                   CohnReznick’s express written consent.
should it prevail in proceedings to collect unpaid fees
and expenses.                                                       LIMITATIONS:    CLIENT    AGREES       THAT
                                                                    COHNREZNICK'S    AND    ITS   PERSONNEL'S
Confidentiality: CohnReznick agrees that any                        MAXIMUM LIABILITY TO CLIENT AND CLIENT’S
confidential information received from Client (“Client              PERSONNEL FOR ANY ACTS OR OMISSIONS
information”) will be kept confidential and CohnReznick             (INCLUDING NEGLIGENT ACTS AND OMISSIONS)
will not disclose any Client information to any third party         BY COHNREZNICK (INCLUDING ITS AFFILIATES
except as permitted in this Agreement including, but                AND      SUBCONTRACTORS)      AND     THEIR
not limited to, the Use of Third Parties, Third-Party               PERSONNEL ARISING OUT OF OR RELATED TO
Requests and Electronic Signatures, Transmissions &                 THIS AGREEMENT OR ANY SERVICES PROVIDED
Storage sections, or with Client’s prior written consent.           TO CLIENT WILL BE LIMITED TO THE AMOUNT
                                                                    PAID FOR THE SERVICES THAT GIVE RISE TO THE
Personal Data:       Client agrees not to provide
                                                                    LIABILITY, EXCEPT TO THE EXTENT IT IS
CohnReznick with Protected Health Information,
                                                                    DETERMINED THAT THE LOSS WAS CAUSED BY
Personal Identifiable Information or other information
                                                                    COHNREZNICK'S GROSS NEGLIGENCE OR
regulated by data protection laws except to the extent
                                                                    WILLFUL MISCONDUCT.
necessary for CohnReznick’s performance of the
services.                                                           EXCEPT     FOR     THE    INDEMNIFICATION
                                                                    OBLIGATIONS SET FORTH HEREIN, IN NO EVENT
Use of Third Parties: Client agrees that CohnReznick
                                                                    SHALL EITHER PARTY BE LIABLE TO THE OTHER
may use service providers, affiliated entities and/or
                                                                    PARTY OR ITS PERSONNEL FOR ANY
subcontractors, some of which may be located outside
                                                                    CONSEQUENTIAL,     INCIDENTAL,   INDIRECT,
the United States (collectively, “service providers”) in
                                                                    PUNITIVE OR SPECIAL DAMAGES, INCLUDING
connection with the services. Such use may require the
                                                                    ANY AMOUNT FOR LOSS OF PROFIT, DATA OR
service provider to access          Client information.
                                                                    GOODWILL, WHETHER OR NOT THE LIKELIHOOD
CohnReznick will remain responsible for any work
                                                                    OF    SUCH    LOSS    OR   DAMAGE     WAS
performed by such service provider.
                                                                    CONTEMPLATED.
Third-Party Requests: If CohnReznick is required by
                                                                    ANY CLAIM OR PROCEEDING, REGARDLESS OF
law, regulation, subpoena or applicable professional
                                                                    ITS FORM, ARISING OUT OF OR RELATED TO THIS
standards and/or rules to produce Client information or
                                                                    AGREEMENT OR ANY SERVICES PROVIDED TO
CohnReznick’s personnel as witnesses (collectively, a
                                                                    CLIENT (COLLECTIVELY, “CLAIM”) MUST BE
“Demand”), CohnReznick shall, to the extent legally


                                                              5
Ver. 10/2023 – Value360 Advisory
                  Case 24-15755-LMI               Doc 81          Filed 08/09/24        Page 41 of 48
                                       GENERAL TERMS AND CONDITIONS



ASSERTED BY CLIENT WITHIN ONE (1) YEAR OF                           Arbitrations in effect on the date of this Agreement
THE COMPLETION OF THE PARTICULAR                                    (unless those rules are inconsistent with this clause in
SERVICES GIVING RISE TO THE ALLEGED CLAIM.                          which case this clause shall govern) by a panel of three
ANY CLAIM NOT BROUGHT BY CLIENT WITHIN                              arbitrators selected in accordance with the screened
THAT TIME PERIOD SHALL BE BARRED WITHOUT                            selection process provided, however, the two party-
REGARD TO ANY OTHER LIMITATIONS PERIOD                              appointed arbitrators shall select the third arbitrator
SET FORTH BY LAW OR STATUTE.                                        who shall be a retired Judge and does not need to be
                                                                    on the IICPR’s list of arbitrators. The arbitration shall
USE & INDEMNIFICATION: THE SERVICES, WORK                           take place in New York, New York and shall be
PRODUCT,    DELIVERABLES     AND    ADVICE                          governed by the Federal Arbitration Act, 9 U.S.C. §§ 1
(COLLECTIVELY, “DELIVERABLES”) UNDER THIS                           et seq. The arbitration shall be confidential, and any
AGREEMENT ARE FOR THE USE AND BENEFIT OF                            award shall be binding and final. In agreeing to
CLIENT ONLY. ACCORDINGLY, CLIENT SHALL                              arbitration, the parties acknowledge that in the event of
INDEMNIFY     AND      HOLD      HARMLESS                           any dispute (including a dispute over fees) the parties
COHNREZNICK, ITS AFFILIATES AND THEIR                               are giving up the right to have the dispute decided in a
PERSONNEL FROM AND AGAINST ANY AND ALL                              court of law before a judge or jury and instead are
CLAIMS (INCLUDING CLAIMS BY CLIENT’S                                accepting the use of arbitration for resolution.
AFFILIATES, MEMBERS AND/OR PARTNERS),
DAMAGES, LIABILITIES AND LOSSES (INCLUDING                          The arbitration panel shall have no authority to award
COSTS AND LEGAL FEES) ARISING OUT OF OR                             punitive damages, damages that are not allowable
RELATED TO A THIRD PARTY’S USE OR RELIANCE                          under this Agreement, or a remedy that could not be
ON THE DELIVERABLES OR THE SERVICES                                 made or imposed by a court deciding the matter under
PROVIDED TO THE CLIENT.                                             applicable law.

Electronic Signatures, Transmissions & Storage: An                  All fees and expenses for the arbitrators, meeting and
electronic, digital or electronically transmitted signature         hearing facilities and hearing transcripts shall be split
will be deemed an enforceable original. Client agrees               evenly 50% by the claimant(s) and 50% by the
that the parties may use CohnReznick portal(s) (“CR                 respondent(s), with any division among claimants or
Portals”) or third-party systems (including portals, data           respondents to be decided by each side respectively
rooms or services/websites hosted by a third party) or              as the case may be. No neutral experts shall be
other electronic means to communicate, transmit,                    appointed by the arbitration panel.
share and store documents under this Agreement.
Each party accepts the associated risks and                         At the initial pre-hearing conference, the arbitrators
CohnReznick shall not be responsible for the security               shall (a) require that the parties exchange (i) a good
thereof. CR Portals are subject to their terms of use               faith calculation of any claimed damages, (ii) the name
and are intended solely for the Client (and Client alone            and, if known, address and telephone number of each
will be given access).                                              person likely to have knowledge of relevant
                                                                    information, and (iii) non-privileged documents that are
Data Privacy: CohnReznick’s Client Data Privacy                     relevant to the issues raised by any claim, defense or
Notice        can           be       accessed          at           counterclaim; and (b) determine the number of
https://www.cohnreznick.com/insights/client-data-                   depositions to be permitted, taking into consideration
privacy-notice. It is incorporated herein by reference to           the nature of claims and damages sought. Third-party
the extent CohnReznick processes personal data that                 subpoenas seeking documents and/or testimony shall
is subject to the data protection laws as set forth                 be permitted. Absent extraordinary circumstances, the
therein.                                                            arbitration hearing shall be held on consecutive
                                                                    hearing days. In the event it is necessary to confirm the
Choice of Law: This Agreement, and any claims arising               arbitration award in court, the costs of such
out of or related to this Agreement or any services                 confirmation proceedings, including attorneys’ fees,
provided to the Client (including but not limited to                incurred by the party seeking confirmation shall be
claims arising in contract, tort, fraud, statute or                 borne entirely by the party against whom enforcement
otherwise) shall be governed by and construed in                    is sought.
accordance with the laws of the State of New York
without giving effect to any choice of law provisions.              Term & Termination: This Agreement applies to all
                                                                    services performed at any time (including before the
Dispute Resolution: Any dispute, controversy or claim               date of this Agreement) arising out of or related to the
arising out of or relating to the services or the                   subject matter of this Agreement.
performance or breach of this Agreement (including
disputes     regarding    the     termination,    validity,         This Agreement and the services may be terminated
interpretation or enforceability of this provision) or any          upon (i) either party’s written termination effective upon
prior services or agreements between the parties shall              30 days written notice or (ii) CohnReznick’s
be finally resolved by arbitration in accordance with the           termination, effective immediately upon written notice
International Institute for Conflict Prevention and                 to Client (a) if CohnReznick determines in its
Resolution ("IICPR") Rules for Non-Administered                     professional judgment that it is unable to complete the


                                                              6
Ver. 10/2023 – Value360 Advisory
                  Case 24-15755-LMI               Doc 81          Filed 08/09/24   Page 42 of 48
                                       GENERAL TERMS AND CONDITIONS



services in accordance with applicable law or
professional standards, (b) for reasonable cause
(including failure to provide the information or
cooperation necessary for successful performance of
the services) or (c) if Client’s account becomes
overdue.

Client will be obligated to compensate CohnReznick for
the time expended and all expenses and out-of-pocket
costs through the date of termination.

Miscellaneous: The provisions of this Agreement that
give either of the parties rights or obligations beyond its
termination shall survive termination of this Agreement.

This Agreement is the complete and exclusive
statement of agreement between the parties, and it
replaces and supersedes all prior proposals,
communications and agreements between the parties,
whether written or oral, related to the subject matter of
this Agreement, including any confidentiality
agreements.
No terms and/or conditions contained in any “shrink-
wrap,” “click-wrap” or “click-through” license or
agreement of the Client, or similar electronic Client
notification, shall be of any force or effect (even if
accepted), nor shall any terms and conditions
contained on Client’s website, invoice, purchase order,
billing, payment or similar transactional documentation
be deemed to amend or supplement this Agreement.

If any provision of this Agreement is found to be invalid,
then such provision will be modified to reflect the
parties' intention as closely as possible without being
unenforceable, and all remaining provisions of this
Agreement shall remain in full force and effect.

Assignment: Either Party may assign its rights under
this Agreement in the event of a merger, acquisition,
corporate reorganization or sale of all or substantially
all of its assets or voting shares, provided that any such
assignment by Client shall be subject to
CohnReznick’s          standard      client    acceptance
procedures. Any assignment in contravention of the
foregoing shall be deemed void. Any assignment
permitted hereunder shall bind and inure to the benefit
of the Parties, their respective successors and assigns.




                                                              7
Ver. 10/2023 – Value360 Advisory
             Case 24-15755-LMI   Doc 81   Filed 08/09/24   Page 43 of 48




                                 Exhibit C




67988979;1
               Case 24-15755-LMI          Doc 81         Filed 08/09/24    Page 44 of 48




                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov




In re:                                                               Chapter 11

IVANKOVICH FAMILY LLC,                                               Case No.: 24-15755-LMI
A & O FAMILY LLC,                                                    (Jointly Administered)
A & O FAMILY LLC (Illinois),                                                   24-15762-LMI
ATLAS P2 MANAGING MEMBER, LLC,                                                 24-15767-LMI
                                                                               24-15770-LMI
         Debtors.                                              /


       ORDER (I) AUTHORIZING THE RETENTION AND EMPLOYMENT OF
    COHNREZNICK LLP AS FINANCIAL ADVISOR TO THE TO THE DEBTORS AND
        DEBTORS-IN-POSSESSION EFFECTIVE AS OF THE PETITION DATE
                    AND (II) GRANTING RELATED RELIEF

         THIS MATTER came before the Court for hearing on August                  , 2024 at      a.m./p.m.
                                              1
upon the application (the “Application”) of the debtors and debtors in possession (collectively,

the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”) for entry of an



1
        Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the
Application.


                                                     2
              Case 24-15755-LMI         Doc 81        Filed 08/09/24   Page 45 of 48




order (this “Order”) (i) authorizing the Debtors to retain and employ CohnReznick LLP

(“CohnReznick”) as its financial advisors (“Financial Advisors”) in these Chapter 11 Cases,

effective as of the petition date (“Petition Date”), in accordance with the terms and conditions set

forth in that certain engagement letter dated July 29, 2024 (the “Engagement Letter”), copy of

which is annexed to the Application, and upon consideration of the Declaration of Stuart Neiberg

(the “Neiberg Declaration”) in support of the Application, and (ii) granting related relief; and the

Court having jurisdiction over this matter pursuant to 28 U.S.C. §§157 and 1334; and consideration

of the Application and the relief requested therein being a core proceeding pursuant to 28 U.S.C.

§157(b); and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409, and

due and proper notice of the Application having been provided to the necessary parties, and it

appearing that no other or further notice need be provided; and it appearing that CohnReznick

neither holds nor represents any interest adverse to the Debtors’ estates; and it appearing that

CohnReznick is “disinterested person,” as that term is defined in Bankruptcy Code section

101(14); and it appearing that the relief requested in the Application is in the best interests of the

Debtors, their estates, creditors and other parties in interest; and as required by Section 327(a) of

the Bankruptcy Code; and notice of the Application having been adequate and appropriate under

the circumstances; and after due deliberation and sufficient cause appearing therefor; it is hereby

       ORDERED, ADJUDGED, AND DECREED that:

       1.      The Application is GRANTED to the extent provided herein.

       2.      The Debtors are authorized to retain and employ CohnReznick LLP as its Financial

Advisor effective as of the Petition Date and in accordance with the terms and conditions set forth

in the Application and in the Engagement Letter, except as limited or modified herein.




                                                  3
              Case 24-15755-LMI         Doc 81         Filed 08/09/24   Page 46 of 48




       3.      CohnReznick is authorized to provide the Debtors with the professional services as

described in the Application and the Engagement Letter and set forth below:

            a. Assist the Debtors in preparing Monthly Operating Reports as required by the

               United States Trustee for the Southern District of Florida (Miami Division);

            b. Assist the Debtors with information and analysis required pursuant to its cash

               collateral and debtor in possession (“DIP”) financing arrangements;

            c. Assist the Debtors in the preparation of financial statements and other reports as

               may be required by the Court or under the U.S. Trustee Guidelines;

            d. Support the Debtors with the winddown of the bankruptcy estates, including any

               sale(s) or liquidation of assets;

            e. Assist the Debtors in daily administrative financial advisory services; and

            f. Render such other general services consulting or other such assistance as the

               Debtors and its counsel may deem necessary.

       4.      CohnReznick shall apply for compensation for the services rendered and may also

seek reimbursement for actual and necessary out-of-pocket expenses incurred in connection with

the Chapter 11 Cases in compliance with the applicable provisions of the Bankruptcy Code, the

Bankruptcy Rules, the Local Rules, and any other applicable orders or procedures of this Court.

       5.      To the extent the Debtors and CohnReznick enter into a new addendum to the

Engagement Letter or additional engagement letters for services not otherwise contemplated by

the Engagement Letter or this Order (collectively, “Expanded Retention Document), the Debtors

will file such Expanded Retention Documents with the Court and serve such Expanded Retention

Documents upon the U.S. Trustee and any official committee appointed in these Chapter 11 Cases.

If no objection is filed and served on the Debtors within ten (10) days after such Expanded




                                                   4
                 Case 24-15755-LMI      Doc 81        Filed 08/09/24   Page 47 of 48




Retention Documents are served, the Court may enter an order approving CohnReznick’s retention

under such Expanded Retention Documents. To the extent any such party objects, within ten (10)

days of such Expanded Retention Documents being served, the Debtors will promptly schedule a

hearing before the Court on such matter. All additional services shall be subject to the provisions

of this Order.

       6.        Prior to any increases in CohnReznick’s rates for any individual employed or

employed by CohnReznick and providing services in these cases, CohnReznick (as applicable)

shall file a supplemental affidavit with the Court and provide ten (10) business days’ prior notice

to the Debtors, the United States Trustee, and the Debtors of such increase. The supplemental

affidavit shall explain the basis for the requested rate increase in accordance with section

330(a)(3)(F) of the Bankruptcy Code and state whether the Debtors have consented to the rate

increase. The United States Trustee retains all rights to object to any rate increase on all grounds

including, but not limited to the reasonableness standard provided for in section 330 of the

Bankruptcy Code, and the Court retains the right to review under section 330 of the Bankruptcy

Code and rate increase.

       7.        The Debtors and CohnReznick are authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order.

       8.        To the extent the Application, the Neiberg Declaration or the Engagement Letter is

inconsistent with this Order, the terms of this Order shall govern.

       9.        Notice of the Application as provided therein shall be deemed good and sufficient

notice of such Application and the requirements of Bankruptcy Rule 6004(a), if applicable, and

the Local Rules are satisfied by such notice.




                                                  5
              Case 24-15755-LMI         Doc 81        Filed 08/09/24   Page 48 of 48




       10.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       11.     This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation and/or interpretation of this Final Order.



Submitted by:

Eyal Berger, Esq.
AKERMAN LLP
Counsel for the Debtors
201 East Las Olas Blvd., Suite 1800
Fort Lauderdale, Florida 33301
Tel: (945)463-2700
Fax: (954)463-2224
Email: eyal.berger@akerman.com

Eyal Berger is directed to serve copies of this Order upon all interested parties and to file a
certificate of service with the Court.




                                                  6
